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5- UGAL PkosetieN or HOUSEHOLD

CASH RECEIPTS AND CASH DISBURSEMENTS

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here GC Ey » \7-bK-FS40

Cumulative
Total

CASH RECEIPTS

Salary or Cash from Business

ESS, 31S, 80

Wages from Other Sources (attach list to this report)

Interest or Dividend Income

Alimony or Child Support

Social Security/Pension/Retirement

Sale of Household Assets (attach list to this report)

Loans/Borrowing from Outside Sources (attach list to this report)

Other (specify) (attach list to this report)

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TOTAL RECEIPTS | FT boy Mo 7

F/
FITS SIS 80

CASH DISBURSEMENTS

Alimony or Child Support Payments

Charitable Contributions

Gifts

Household Expenses/Food/Clothing

$2300

Household Repairs & Maintenance

Insurance

$6, 30. xt

TRA. Contribution

Lease/Rent Payments

Medical/Dental Payments

Mortgage Payment(s)

FIS,300

Other Secured Payments

Taxes - Personal Property

Taxes ~ Real Estate

Taxes Other (attach schedule)

Travel & Entertainment

Tuition/Education

Professional Fees (Legal, Accounting)

Utilities (Electric, Gas, Water, Cable, Sanitation) 42,640
Vehicle Expenses $2 SUS.
Vehicle Secured Payment(s)

U. S. Trustee Quarterly Fees $1,300,

Other (attach schedule)

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£1188

bvnto Vota

$404 bY

VAMC $ceh

$120

Total Household Disbursements

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$133.46

Operating Report - Individual

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CASH RECEIPTS AND CASH DISBURSEMENTS

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Cumulative
Total

CASH RECEIPTS

Salary or Cash from Business

Wages from Other Sources (attach list to this report)

Interest or Dividend Income

Alimony or Child Support

Social Security/Pension/Retirement

Sale of Household Assets (attach list to this report)

Loans/Borrowing from Outside Sources (attach list to this report)

Other (specify) (attach list to this report)

RE Phares”) & $1, Gs0/mo 10 Fo Mi

$17,820

TOTAL RECEIPTS

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CASH DISBURSEMENTS

Alimony or Child Support Payments

Charitable Contributions

Gifts

Household Expenses/Food/Clothing

FOS

Household Repairs & Maintenance

Insurance

$O ASO

TRA Contribution

Lease/Rent Payments

Medical/Dental Payments

Mortgage Paymeni(s)

$) 5,300

Other Secured Payments

Taxes - Personal Property

Taxes - Real Estate

Taxes Other (attach schedule)

Travel & Entertainment

Tuition/Education

Utilities (Electric, Gas, Water, Cable, Sanitation)

PC, tz.

Vehicle Expenses

EO FU.2S

Vehicle Secured Payment(s)

U. S. Trustee Quarterly Fees

Professional Fees (Legal, Accounting)

$1300.

Other {attach schedule)

Cae Pits

$1,308

AMTo Loins

$34 123.80

AMC ~eck

S120.

Total Household Disbursements

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Operating Report - Individual

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P£ESE°N OF HOUSEHOLD

CASH RECEIPTS AND CASH DISBURSEMENTS

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Cumulative
Total

CASH RECEIPTS

Salary or Cash from Business

#S7026

Wages from Other Sources (attach list to this report)

Interest or Dividend Income

Alimony or Child Support

Social Security/Pension/Retirement

Sale of Household Assets (attach list to this report)

Loans/Borrowing from Outside Sources (attach list to this report)

Other (specify) (attach list to this report)

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TOTAL RECEIPTS

CASH DISBURSEMENTS

Alimony or Child Support Payments

Charitable Contributions

Gifts

Household Expenses/Food/Clothing

Household Repairs & Maintenance

Insurance

TRA. Contribution

Lease/Rent Payments

Medical/Dental Payments

Mortgage Payment(s)

Other Secured Payments

Taxes - Personal Property

Taxes - Real Estate

Taxes Other (attach schedule)

Travel & Entertainment

Tuition/Education

Utilities (Electric, Gas, Water, Cable, Sanitation)

$2710

Vehicle Expenses

$2,563

Vehicle Secured Payment(s)

U.S. Trustee Quarterly Fees

#1400

Professional Fees (Legal, Accounting)

Other (attach schedule)

Cau Pibae

$1,330

Kwa Vat,

$34,123.80

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Total Household Disbursements

a7e) 182.58

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$4 633.457

Operating Report - Individual

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CASH RECEIPTS AND CASH DISBURSEMENTS

Year 4

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Cumulative
Total

CASH RECEIPTS

Salary or Cash from Business

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Wages from Other Sources (attach list to this report)

Interest or Dividend Income

Alimony or Child Support

Social Security/Pension/Retirement

Sale of Household Assets (attach list to this report)

Loans/Borrowing from Outside Sources (attach list to this report)

Other (specify) (attach list to this report)

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TOTAL RECEIPTS |

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CASH DISBURSEMENTS

Alimony or Child Support Payments

Charitable Contributions

Gifts

Household Expenses/Food/Clothing

Household Repairs & Maintenance

Insurance

TRA Contribution

Lease/Rent Payments

Medical/Dental Payments

Mortgage Paymeni{s)

Other Secured Payments

Taxes - Personal Property

Taxes - Real Estate

Taxes Other (attach schedule)

Travel & Entertainment

Tuition/Education

Utilities (Electric, Gas, Water, Cable, Sanitation)

Vehicle Expenses

Vehicle Secured Payment(s)

U.S. Trustee Quarterly Fees

Professional Fees (Legal, Accounting)

Other (attach schedule)

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Total Household Disbursements

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Operating Report - Individual

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>- YEAR PRESEN OF HOUSEHOLD

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CASH RECEIPTS AND CASH DISBURSEMENTS
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| bre G. Sw |1-BE-F9 S90 Total

CASH RECEIPTS

Salary or Cash from Business

$07, TE.

Wages from Other Sources (attach list to this report)

Interest or Dividend Income

Alimony or Child Support

Social Security/Pension/Retirement

Sale of Household Assets (attach list to this report)

Loans/Borrowing from Outside Sources (attach list to this report)

Other (specify) (attach list to this report)

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TOTAL RECEIPTS

CASH DISBURSEMENTS

Alimony or Child Support Payments

Charitable Contributions

Gifts

Household Expenses/Food/Clothing

Household Repairs & Maintenance

Insurance

TRA Contribution

Lease/Rent Payments

Medical/Dental Payments

Mortgage Payment(s)

Other Secured Payments

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Taxes Other (attach schedule)

Travel & Entertainment

Tuition/Education

Utilities (Electric, Gas, Water, Cable, Sanitation)

Vehicle Expenses

Vehicle Secured Payment(s)

U.S. Trustee Quarterly Fees

Professional Fees (Legal, Accounting)

Other (attach schedule)

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Rudo Usa

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Total Household Disbursements

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Operaiing Report - Individual

